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 8                           UNITED STATES DISTRICT COURT

 9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                                SOUTHERN DIVISION

11                              April 2021 Grand Jury

12   UNITED STATES OF AMERICA,               No.   8:21-cr-00071-DOC
13             Plaintiff,                    I N D I C T M E N T

14             v.                            [18 U.S.C. § 1951(a): Conspiracy
                                             to Interfere with Commerce by
15   VINCENT RANDAL PIMENTEL and             Robbery and Extortion, and
     STEVEN GALLEGOS SAENZ,                  Interference with Commerce by
16                                           Robbery; 18 U.S.C. § 981(a)(1)(C)
               Defendants.                   and 28 U.S.C. § 2461(c): Criminal
17                                           Forfeiture]
18

19        The Grand Jury charges:
20                                     COUNT ONE
21                              [18 U.S.C. § 1951(a)]
22                                 [ALL DEFENDANTS]
23   A.   OBJECT OF THE CONSPIRACY
24        1.   Beginning no later than on or about April 19, 2019, and
25   continuing to on or about April 19, 2019, in Orange County, within
26   the Central District of California, defendants VINCENT RANDAL
27   PIMENTEL and STEVEN GALLEGOS SAENZ, and others known and unknown to
28   the Grand Jury, conspired with each other to knowingly and
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 1   intentionally interfere with commerce by robbery and extortion, in

 2   violation of Title 18, United States Code, Section 1951(a).

 3   B.   MEANS BY WHICH THE OBJECT OF THE CONSPIRACY WAS TO BE

 4        ACCOMPLISHED
 5        2.   The object of the conspiracy was to be accomplished, in
 6   substance, as follows:
 7             a.      Defendant SAENZ, and others known and unknown to the
 8   Grand Jury, would identify small businesses to extort.
 9             b.      Defendant SAENZ, and others known and unknown to the
10   Grand Jury, would approach certain small businesses, claim to be
11   “mafia,” and make an extortionate demand for payment of “taxes,”
12   i.e., a periodic payment of money.
13             c.      Defendants PIMENTEL and SAENZ, and others known and
14   unknown to the Grand Jury, would rob those small businesses that
15   refused to pay “taxes.”
16   C.   OVERT ACTS
17        3.   In furtherance of the conspiracy, and to accomplish its
18   object, on or about April 19, 2019, defendants PIMENTEL and SAENZ,
19   and others known and unknown to the Grand Jury, committed various
20   overt acts in Orange County, within the Central District of
21   California, including, but not limited to, the following:
22        Overt Act No. 1:       Defendant SAENZ and an unindicted co-
23   conspirator went to Video Star, located at 700 East First Street,
24   Santa Ana, California, a retail video rental business, and told the
25   owner of Video Star that they were “mafia.”
26        Overt Act No. 2:       Defendant SAENZ and an unindicted co-
27   conspirator made an extortionate demand upon the owner of Video Star
28   to pay “taxes.”
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 1           Overt Act No. 3:    Defendant SAENZ entered Video Star to

 2   examine its layout and security system in anticipation of a planned
 3   robbery of Video Star later that day, following Video Star’s owner’s
 4   refusal to pay “taxes.”
 5           Overt Act No. 4:    Later that day, defendants PIMENTEL and
 6   SAENZ, and others known and unknown to the Grand Jury, entered Video
 7   Star, at which time an unindicted co-conspirator pointed what
 8   appeared to be a handgun at employees of Video Star.          After obtaining
 9   one red digital gambling machine, with an estimated retail value of
10   $11,000, two black digital gambling machines, with an estimated
11   retail value of $3,000, one Dell desktop computer, with an estimated
12   retail value of $300, one Lenovo desktop computer, with an estimated
13   retail value of $300, and approximately $3,500 in cash, defendants
14   PIMENTEL and SAENZ, and others known and unknown to the Grand Jury,
15   fled.
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 1                                     COUNT TWO

 2                          [18 U.S.C. §§ 1951(a), 2(a)]

 3                                 [ALL DEFENDANTS]

 4        On or about April 19, 2019, in Orange County, within the Central

 5   District of California, defendants VINCENT RANDAL PIMENTEL and STEVEN

 6   GALLEGOS SAENZ, and others known and unknown to the Grand Jury, each

 7   aiding and abetting the others, obstructed, delayed, and affected

 8   commerce and the movement of articles and commodities in commerce by

 9   knowingly and willingly committing robbery, in that defendants

10   PIMENTEL and SAENZ, and others known and unknown to the Grand Jury,

11   unlawfully took and obtained property consisting of one red digital

12   gambling machine, with an estimated retail value of $11,000, two

13   black digital gambling machines, with an estimated retail value of

14   $3,000, one Dell desktop computer, with an estimated retail value of

15   $300, one Lenovo desktop computer, with an estimated retail value of

16   $300, and approximately $3,500 in cash, belonging to Video Star,

17   located at 700 East First Street, Santa Ana, California, a retail

18   video rental business, the inventory of which travels in interstate

19   commerce, in the presence of employees and customers of Video Star,

20   against their will, by means of actual and threatened force,

21   violence, and fear of injury, immediate and future, to their persons.

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 1                              FORFEITURE ALLEGATION

 2             [18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c)]

 3        1.   Pursuant to Rule 32.2 of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of America

 5   will seek forfeiture as part of any sentence, pursuant to Title 18,

 6   United States Code, Section 981(a)(1)(C) and Title 28, United States

 7   Code, Section 2461(c), in the event of any defendant’s conviction of

 8   the offense set forth in Counts One or Two of this Indictment.

 9        2.   Any defendant so convicted shall forfeit to the United

10   States of America the following:

11             (a)   All right, title, and interest in any and all

12   property, real or personal, constituting, or derived from, any

13   proceeds traceable to the offense; and

14             (b)   To the extent such property is not available for

15   forfeiture, a sum of money equal to the total value of the property

16   described in subparagraph (a).

17        3.   Pursuant to Title 21, United States Code, Section 853(p),

18   as incorporated by Title 28, United States Code, Section 2461(c), any

19   defendant so convicted shall forfeit substitute property, up to the

20   value of the property described in the preceding paragraph if, as the

21   result of any act or omission of the defendant, the property

22   described in the preceding paragraph or any portion thereof

23   (a) cannot be located upon the exercise of due diligence; (b) has

24   been transferred, sold to, or deposited with a third party; (c) has

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